Case 1:16-cr-00143-LO Document 204 Filed 06/16/17 Page 1 of 3 PageID# 1904



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )       Criminal No. 1:16CR143
                                               )
 MOHAMAD JAMAL KHWEIS,                         )
                                               )
                Defendant.                     )


             DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL OR,
                     ALTERNATIVELY, A NEW TRIAL

        COMES NOW the defendant, Mohamad Jamal Khweis, by counsel, and

 respectfully moves this Court under Federal Rules of Criminal Procedure 29(c) and 33(a)

 for an Order granting a judgment of acquittal or, alternatively, a new trial. In a separate

 motion filed on this same day, Mohamad Jamal Khweis, requests leave to file a

 memorandum supporting this motion after the trial transcripts have been prepared and

 reviewed.

                                                       Respectfully submitted,
                                                       MOHAMAD KHWEIS
                                                       By Counsel


                                                               __/s/_______________
                                                       Jessica N. Carmichael, Esq.
                                                       Virginia Bar No. 78339
                                                       HARRIS & CARMICHAEL, PLLC
                                                       1800 Diagonal Road, Suite 600
                                                       Alexandria, Virginia 22314
                                                       (703) 684-7908
                                                       jcarmichael@harriscarmichael.com


                                                              __/s/_______________
                                                       John K. Zwerling, Esq.

                                               1
Case 1:16-cr-00143-LO Document 204 Filed 06/16/17 Page 2 of 3 PageID# 1905



                                          Virginia Bar No. 8201
                                          ZWERLING/CITRONBERG, PLLC
                                          114 N. Alfred Street
                                          Alexandria, VA 22314
                                          703-684-8000
                                          703-684-9700 (F)
                                          Email: jz@zwerling.com




                                    2
Case 1:16-cr-00143-LO Document 204 Filed 06/16/17 Page 3 of 3 PageID# 1906



                               CERTIFICATE OF SERVICE

         I, hereby certify, that on the 16th day of June, 2017, I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system, which will send a
  notification of such filing (NEF) to the following and all parties to this action:

  Dennis Fitzpatrick, Esq.
  United States Attorney's Office
  2100 Jamieson Ave
  Alexandria, VA 22314
  (703) 299-3954
  Email: dennis.fitzpatrick@usdoj.gov

  Raj Parekh, Esq.
  US Attorney's Office
  2100 Jamieson Avenue
  Alexandria, VA 22314
  703-299-3700
  Email: raj.parekh@usdoj.gov

  Colleen Garcia, Esq.
  US Attorney's Office
  2100 Jamieson Avenue
  Alexandria, VA 22314
  703-299-3700
  Email: colleen.e.garcia@usdoj.gov

                                                        ________/s/_____________
                                                        Jessica N. Carmichael, Esq.




                                               3
